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                                  OFFICE OF THE CLERK
                             UNITED STATES DISTRICT COURT
                                Northern District of California

                                      CIVIL MINUTES



Date: May 24, 2018               Time: 1 hour, 50 mins      Judge: NATHANAEL M.
                                                            COUSINS
Case No. 17-cv-00220-LHK         Case Name: Federal Trade Commission v. Qualcomm
                                 Incorporated
Case No. 17-md-02773 LHK         Case Name: In Re Qualcomm Antitrust Litigation


Attorneys for Qualcomm: Yonatan Even, Geoffrey Holtz, Cody Harris
Attorney for FTC: Daniel Matheson
Attorney for MDL Plaintiffs: Rio Pierce
Attorney for Apple, Inc.: Edward Takashima
Attorneys for Ingram Micro, Inc., SYNNEX Corp.: Daniel Sasse, Paul Sung
Deputy Clerk: Lili Harrell                            FTR Time: 2:48pm–3:55pm
                                                                4:11pm-4:54pm


                                       PROCEEDINGS
Discovery Hearing held:

Topic 1 (ECF Nos. 450, 455, 457 in ‘2773)

   -   MDL plaintiffs vs. Synnex/Ingram/Brightpoint
   -   Production of SKUs by third parties Brightpoint/Ingram/Synnex
   -   Ruling:
          o MDL plaintiffs’ request for additional production of data is GRANTED, with
               discovery found to be relevant, with parties instructed to confer further about the
               scope of additional production.
          o Production is subject to protective order
          o Plaintiffs to compensate responding parties for reasonable hard costs of additional
               production
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Topic 2 (ECF No. 468 in ‘2773)

   -   MDL plaintiffs vs. Qualcomm
   -   Motion to compel production of transactional data tables
   -   Ruling:
          o Granted in part. By 6/8, Qualcomm to produce the 8 tables identified, along with
               a letter summarizing the information presented in tables
          o MDL plaintiffs get one week, until 6/15, to follow up with reasonable questions



Topic 3 (ECF No. 467 in ‘2773)

   -   MDL plaintiffs vs. Qualcomm
   -   Production of financial planning analysis materials
   -   Ruling:
          o Granted in part. Qualcomm to search the 24 folders (out of 36) it identified using
               the MDL plaintiffs’ search terms and produce responsive non-privileged materials
               by June 15.



Topic 4 (ECF No. 469 in ‘2773)

   -   MDL plaintiffs vs. Qualcomm
   -   Interrogatory No. 20
Ruling: Granted in part. By 6/7, Qualcomm to provide declaration, under penalty of perjury, by
witness with knowledge, attesting to information


Topic 5 (ECF No. 742 in ‘220)

   -   FTC vs. Qualcomm
   -   Interrogatory No. 4 – metrics for assertion of patent portfolio value
   -   Ruling: Granted in part, with response deferred. Qualcomm must supplement its response
       to Interrogatory No. 4 on the same date as its expert report disclosure.



Topic 6 (ECF No. 743 in ‘220)

   -   FTC vs. Qualcomm
   -   Interrogatory No. 19 – basis for selecting five iPads in price analysis
   -   Ruling: Request DENIED, without prejudice to raising the issue during expert discovery.
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Topic 7 (ECF No. 745-3 in ‘220)

   -   Apple vs. Qualcomm
   -   Common interest privilege with third parties
   -   Ruling:
          o DEFERRED, to allow third parties time to respond
          o As yet, unpersuaded that common interest privilege exists
          o By 6/1, parties to file joint discovery letter brief, with attachments permitted
          o Next status report is set for 6/4
